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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION




UNITED STATES OF AMERICA,                   Case: 3:20−cr−20587
                                            Assigned To : Cleland, Robert H.
                    Plaintiff,              Referral Judge: Whalen, R. Steven
                                            Assign. Date : 12/4/2020
-vs-                                        Description: INFO USA V. JOHNSON (NA)


D-1 BRANDON JOHNSON,
                                                  Offense: 26 U.S.C. §
               Defendant.                         7206(1), Making a False Tax
_________________________________/                Return

                                 INFORMATION

       The United States Attorney charges that:

                                 INTRODUCTION

       At times relevant to this Information:

   1. Defendant BRANDON JOHNSON was a resident of St. Clair Shores,

Michigan.

   2. Defendant BRANDON JOHNSON was President of Company A from 2007

through October 2017. Company A was a building maintenance company owned

and operated by Defendant BRANDON JOHNSON and members of his family.

   3. From approximately 2008 through 2017, Defendant BRANDON JOHNSON

misappropriated millions of dollars from Company A and used those funds for
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personal purchases. Defendant BRANDON JOHNSON paid for those personal

purchases by issuing checks from Company A payable to a supplier and the

supplier’s business. Defendant BRANDON JOHNSON understood those payments

to that supplier and that supplier’s business were for purchases that were personal

in nature and not legitimate business expenses. Defendant BRANDON JOHNSON

also understood that the funds he took out of Company A by this means should

have been reported as income on his individual tax returns. Defendant

BRANDON JOHNSON concealed the checks in Company A’s records by making

it appear as if the checks were written to legitimate vendors.

                                  COUNT ONE

   4. On or about August 31, 2015, in the Eastern District of Michigan, Southern

Division, Defendant BRANDON JOHNSON, did willfully make and subscribe a

joint U.S. Individual Income Tax Return, Form 1040, for the 2014 tax year, which

was verified by a written declaration that it was made under the penalties of

perjury and which he did not believe to be true and correct as to every material

matter. That tax return, which was filed with the Internal Revenue Service, failed

to report approximately $1,258,360 in funds he misappropriated from Company A

as income, whereas, as defendant BRANDON JOHNSON then and there well

knew, those misappropriated funds should have been included in the income he




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reported on that tax return, and that failing to report those misappropriated funds as

income caused the total income on that tax return to be falsely understated.

   In violation of Title 26, United States Code, Section 7206(1).

                                  COUNT TWO

   5. On or about October 17, 2016, in the Eastern District of Michigan, Southern

Division, Defendant BRANDON JOHNSON, did willfully make and subscribe a

joint U.S. Individual Income Tax Return, Form 1040, for the 2015 tax year, which

was verified by a written declaration that it was made under the penalties of

perjury and which he did not believe to be true and correct as to every material

matter. That tax return, which was filed with the Internal Revenue Service, failed

to report approximately $2,091,150 in funds he misappropriated from Company A

as income, whereas, as defendant BRANDON JOHNSON then and there well

knew, those misappropriated funds should have been included in the income he

reported on that tax return, and that failing to report those misappropriated funds as

income caused the total income on that tax return to be falsely understated.

   In violation of Title 26, United States Code, Section 7206(1).




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                                 MATTHEW SCHNEIDER
                                 United States Attorney


                                 /s/ Jeffrey A. McLellan
                                 JEFFREY A. MCLELLAN
                                 SAM BEAN
                                 Trial Attorneys
                                 U.S. Department of Justice, Tax Division




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